Case 8:22-cv-02237-DOC-JDE Document 13 Filed 01/12/23 Page 1 of 1 Page ID #:37




                        UNITED STATES DISTRICT COURT                         JS-6
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No: 8:22-cv-02237-DOC-JDE                           Date: January 12, 2023

 Title: Theresa Brooke v. Dana Point Inn LLC



PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

               Karlen Dubon                                Not Present
              Courtroom Clerk                             Court Reporter

      ATTORNEYS PRESENT FOR                      ATTORNEYS PRESENT FOR
            PLAINTIFF:                                DEFENDANT:
           None Present                                None Present


 PROCEEDINGS: (IN CHAMBERS): ORDER DISMISSING CIVIL CASE

        The Court, having been notified by the plaintiff that this action has been
 settled [12], hereby orders this action DISMISSED without prejudice. The Court
 hereby orders ALL proceedings in the case VACATED and taken off calendar.
 The Court retains jurisdiction for 30 days to vacate this order and reopen the action
 upon showing of good cause that the settlement has not been consummated.

       The Clerk shall serve this minute order on the parties.




  MINUTES FORM 11
  CIVIL-GEN                                                      Initials of Deputy Clerk: kdu
